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November 4, 2019

BY ECF

The Honorable Richard J. Leon

United States District Court for
the District of Columbia

E. Barrett Prettyman Courthouse

333 Constitution Avenue, NW

Washington, D.C. 20001

Re: | Kupperman y. House of Representatives of
the United States, et al., No. 19-3224 (D.D.C.)

Dear Judge Leon:

I write to answer a question posed by the Court at the October 31, 2019, status conference
in this case and to seek clarification of the Court’s briefing order in light of remarks made by the
Court at that status conference.

First, the Court asked whether Plaintiff “plann[ed] ... on modifying or amending the
complaint” in light of the resolution adopted by the House shortly before the status conference
began on October 31. Transcript of Oct. 31, 2019 Status Conference at 6. We have now had the
opportunity to review the House’s October 31 Resolution, and we have concluded that
declaratory relief is no longer necessary on the question whether the subpoena issued by the
House Defendants to Plaintiff is authorized by, and valid under, House Rules. We expect to file
an amended complaint in the coming days that will eliminate that request. As we represented
during the October 31 status conference, the amended complaint will not give rise to any need to
amend the briefing schedule adopted by the Court.

Second, the Court observed at the status conference that this case “is a matter of great
public interest and a matter of great urgency to the country,” and for that reason the Court
emphasized that its “overarching concern is that we get all this done as soon as possible so we
can move forward with a briefing schedule ... and bring this case to a resolution.” Jd. Given the
national importance of resolving this case as expeditiously as possible in light of the House’s
pending impeachment proceedings, the Court placed the case on a very aggressive briefing
schedule and suggested that it hoped to resolve this case “by the end of December or early
January.” Jd. at 18.
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In order to ensure that the Court is able to achieve this objective, we respectfully submit
that the Court should clarify its order setting a briefing schedule to expressly specify that the
parties taking a position on the merits (i.e., the House Defendants and the President) should set
forth their merits arguments in their briefs in addition to any jurisdictional and/or justiciability
arguments they wish to advance. Complete briefing of all the issues will enable the Court to
enter final judgment in the case on the ambitious, but achievable, schedule it has adopted. If,
however, the parties were to limit their briefs to jurisdiction and/or justiciability and the Court
rejects Defendants’ arguments, a second round of briefing on the merits would be necessary, thus
frustrating the Court’s ability to resolve this case as expeditiously as possible.

Briefing the merits of the constitutional issues presented in this case should not impose
any hardship on the Defendants. Both the House Defendants and the President have briefed and
argued in the McGahn case the merits of the question whether a Presidential assertion of absolute
immunity against congressional process for a close senior advisor overrides a House subpoena,
so they will not be prejudiced by an express requirement that they set forth their arguments in
this case.

Respectfully submitted,

/s/Charles J. Cooper
Counsel to Plaintiff

ce: Counsel of Record (via ECF)
